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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

UNITED STATES OF AMERICA

v.                                               No. 4:15-CR-151-O

JAMES LEMARC BYRD (06)

                           GOVERNMENT’S MOTION TO DISMISS

TO THE HONORABLE REED O’CONNOR, UNITED STATES DISTRICT JUDGE:

        The United States Attorney for the Northern District of Texas, by and through the

undersigned Assistant United States Attorney, files this Government’s Motion to Dismiss

the Indictment filed on June 10, 2015, as to defendant James Lemarc Byrd only.

        In the interest of justice, the government moves to dismiss the indictment without

prejudice as to defendant James Lemarc Byrd only.



                                                 Respectfully submitted,

                                                 JOHN R. PARKER
                                                 ACTING UNITED STATES ATTORNEY

/s/ Alex C. Lewis                                /s/ Shawn Smith
ALEX C. LEWIS                                    SHAWN SMITH
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